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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                       Plaintiff,

        v.                                        No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                       Defendants.



 ASSENTED-TO MOTION FOR LEAVE TO IMPOUND CONFIDENTIAL PORTIONS
        OF DEFENDANTS’ MEMORANDA AND CERTAIN EXHIBITS

       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Case No. 15-10698,

Dkt. 170), Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc.

(collectively “Defendants”), hereby move this Court for an Order to impound or otherwise seal the

following documents, on the ground these documents contain or reveal Plaintiff’s, Defendants’

and/or third-party confidential and proprietary information:

   Documents Related to Defendants’ Memorandum in Support of Defendants’ Daubert
               Motion to Exclude Opinion of Sean Nicholson (Dkt. 239)

   •   Defendants’ Memorandum In Support Of Defendants’ Daubert Motion to Exclude
       Opinion of Sean Nicholson Regarding Damages (“Nicholson Daubert”);

   •   Exhibit 1 to the Nicholson Daubert, Excerpts of the Deposition Transcript of Sean
       Nicholson;

   •   Exhibit 2 to the Nicholson Daubert, Excerpts of the Deposition Transcript of Matthew
       Hales;

   •   Exhibit 3 to the Nicholson Daubert, Expert Report of Dr. Gregory K. Leonard dated
       March 29, 2018;
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 •   Exhibit 5 to the Nicholson Daubert, Expert Report of Sean Nicholson, Ph.D. dated
     January 19, 2018;

 •   Exhibit 6 to the Nicholson Daubert, Excerpts of Plaintiff’s Response to Defendants’ First
     Set of RFAs (Feb. 1, 2018);

 •   Exhibit 7 to the Nicholson Daubert, Excerpts of the Deposition Transcript of Brian
     Douglass;

 •   Exhibit 8 to the Nicholson Daubert, Rebuttal Damages Expert Report of Dr. Bert T.
     Frohlich dated March 21, 2018;

 •   Exhibit 9 to the Nicholson Daubert, Excerpts of the Deposition Transcript of Scott
     White;

 •   Exhibit 10 to the Nicholson Daubert, Excerpts of the Deposition Transcript of Maurice
     John Hickey;

 •   Exhibit 11 to the Nicholson Daubert, Supplemental Expert Report of Sean Nicholson,
     Ph.D. dated March 20, 2018;

 •   Exhibit 13 to the Nicholson Daubert, Excerpts of document bearing bates numbers
     HOS0044966 to HOS0045020;

 •   Exhibit 14 to the Nicholson Daubert, Excerpts of document bearing bates numbers
     HOS0044877 to HOS0044889;

Documents Related to Defendants’ Memorandum in Support of Defendants’ Motion to
     Exclude Certain Opinions of Michael Butler and Richard Lit (Dkt. 242)

 •   Defendants’ Memorandum In Support Of Defendants’ Motion to Exclude Certain
     Opinions of Michael Butler and Richard Lit Regarding Damages and Infringement
     (“Butler and Lit Daubert”)

 •   Exhibit 1 to the Butler and Lit Daubert, Reply Damages Expert Report of Professor
     Michael Butler, Ph.D. dated April 10, 2018;

 •   Exhibit 2 to the Butler and Lit Daubert, Excerpts of the Deposition Transcript of Richard
     Lit;

 •   Exhibit 3 to the Butler and Lit Daubert, Document bearing bates number GEHC-10698-
     052909;

 •   Exhibit 4 to the Butler and Lit Daubert, Supplement to Opening Damages Expert Report
     of Richard Lit dated March 12, 2018;




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   •   Exhibit 5 to the Butler and Lit Daubert, Supplement to Opening Damages Expert Report
       of Professor Michael Butler, Ph.D. dated March 15, 2018;

   •   Exhibit 6 to the Butler and Lit Daubert, Opening Damages Expert Report of Richard Lit
       dated January 19, 2018;

   •   Exhibit 7 to the Butler and Lit Daubert, Reply Damages Expert Report of Richard Lit,
       dated April 10, 2018;

   •   Exhibit 8 to the Butler and Lit Daubert, Excerpts of the Deposition Transcript of Michael
       Butler dated April 17, 2018;

   •   Exhibit 9 to the Butler and Lit Daubert, Opening Damages Expert Report of Professor
       Michael Butler Ph.D. dated January 19, 2018;

   Documents Related to Defendants’ Motion for Partial Summary Judgment (Dkt. 236)

   •   Defendants’ Memorandum In Support Of Defendants’ Motion For Partial Summary
       Judgment That There Were Available and Acceptable Non-Infringing Alternatives to the
       Asserted Patent (“Summary Judgment Memorandum”);

   •   Defendants’ Rule 56.1 Statement of Undisputed Material Facts in Support of Defendants’
       Motion for Summary Judgment of That There Were Available and Acceptable Non-
       Infringing Alternatives to the Asserted Patent (“Summary-Judgment Statement of
       Facts”);

   •   Exhibit 1 to the Summary Judgment Memorandum, Excerpts of the Deposition Transcript
       of Michael Butler dated April 17, 2018;

   •   Exhibit 2 to the Summary Judgment Memorandum, Excerpts of the Rebuttal Damages
       Expert Report of Dr. Bert T. Frohlich dated March 21, 2018;

Defendants filed publicly available, redacted versions of the Nicholson Daubert, the Butler and

Lit Daubert, and the Summary Judgment Memorandum through the electronic filing system.

Defendants request the other documents identified above be sealed in their entirety.

       Plaintiff assents to this Motion.

       WHEREFORE, Defendants respectfully request that this Court allow this Motion.




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Dated: May 4, 2018                 Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

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                                 LR 7.1(a)(2) CERTIFICATION

         I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s

counsel regarding this motion on May 4; Plaintiff assents to this Motion.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

         I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 4,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.
4818-4952-5861.1




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